    REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED
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              EXHIBIT 4
PUBLIC REDACTED VERSION
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1                          UNITED STATES DISTRICT COURT
2                         NORTHERN DISTRICT OF CALIFORNIA
3       ----------------------------*
4       SOCIAL TECHNOLOGIES LLC,
5                             Plaintiff,                  Case No.
6                   vs.                                   CV 18-05945-VC
7       APPLE INC.,
8                             Defendant.
9       ----------------------------*
10            HIGHLY CONFIDENTIAL - ATTORNEYS EYES ONLY
11                    ORAL AND VIDEO DEPOSITION OF
12                             SAMUEL E. BONET
13                              July 3, 2019
14                            New York, New York
15                                  9:12 a.m.
16
17
18
19
20
        Reported by:
21      Josephine H. Fassett, RPR, CCR
22
23
24
25

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1       being warned that willful false statements and the
2       like are punishable by fine or imprisonment or
3       both under 18 U.S.C. Section 1001, and that such
4       willful false statements and the like may
5       jeopardize the validity of the application or any
6       registration resulting thereon."                  Do you see that?
7              A.    I do, yes.
8              Q.    And you understood that when you signed
9       it, correct?
10                   MR. HECHT:       Objection.
11             A.    Yes.
12             Q.    Did Social Tech conduct a trademark
13      search prior to filing this application?
14             A.    Yes.
15             Q.    Prior to signing Social Tech's
16      application for the Memoji design mark, did you
17      search the PTO website to see if anyone had
18      previously applied to register a mark containing
19      the word Memoji?
20             A.    Yes.
21             Q.    Did you do that personally?
22             A.    Yes.
23             Q.    Do you have copies of those searches?
24             A.    I do not.
25             Q.    What did you find when you searched the

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1       PTO website to see if anyone had applied to
2       register a mark with the word Memoji?
3               A.    Lucky Bunny's abandoned application.
4               Q.    Anything else?
5               A.    I don't think so.
6               Q.    Prior to signing and submitting Social
7       Tech's MEMOJI design mark application, did Social
8       Tech do any Google searches for the word Memoji?
9               A.    Yes.
10              Q.    Did you do that personally?
11              A.    Yes.
12              Q.    What came up in those Google searches?
13              A.    Lucky Bunny's app.
14              Q.    Was the Lucky Bunny app the first thing
15      that came up in the -- in your Google search?
16              A.    I don't quite recall.
17              Q.    Is it fair to say it was on the first
18      page?
19                    MR. HECHT:      Objection.
20              A.    Yes.
21              Q.    And it may have been the first result;
22      isn't that true?
23                    MR. HECHT:      Objection.
24              A.    I'm not sure, I'd be speculating.
25              Q.    Did you keep copies of any of the Google

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1       searches you did?
2              A.    I did not.
3              Q.    And when you did your Google searches
4       and you saw Lucky Bunny's mobile app come up, did
5       you also see references to Howie Mandel?
6                    MR. HECHT:       Objection.
7              A.    I don't recall that.
8              Q.    You don't recall one way or the other?
9              A.    I don't recall at all.
10             Q.    Prior to signing your declaration in
11      support of Memoji's -- prior to signing your
12      declaration in support of Social Tech's MEMOJI'S
13      design app trademark application, were you aware
14      that Howie Mandel had been promoting Lucky Bunny's
15      app?
16             A.    I was not aware of that.
17             Q.    Did you do a search on the Apple App
18      Store to see if anyone had an app using the term
19      Memoji prior to submitting Social Tech's trademark
20      application?
21             A.    I did.
22             Q.    What did you find?
23             A.    Lucky Bunny's app.
24             Q.    Did you find any other apps that used
25      the word Memoji?

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1              Q.    What uses of Memoji were you aware of at
2       the time Social Tech filed its intent-to-use
3       trademark application for the Memoji design mark
4       on April 1, 2016?
5              A.    I'm not completely clear on what you
6       mean by "uses."
7              Q.    Okay.     What information did you have of
8       people who had used the mark Memoji before you
9       filed your application on April 1, 2016, for the
10      Memoji design mark?
11                   MR. HECHT:       Objection to form.
12             A.    The only memoji I was aware of was Lucky
13      Bunny's.
14             Q.    And Lucky -- and you became aware of
15      Lucky Bunny because it came up in your searches;
16      is that right?
17             A.    Yes.
18                   (Declaration of Samuel Bonet in
19             Support of Plaintiff's Motion for
20             Preliminary Injunction marked as Bonet
21             Exhibit 228, as of this date.)
22      BY MS. CENDALI:
23             Q.    I'm handing you a document that has been
24      marked as Exhibit 228.
25                   Is Exhibit 228 a declaration you

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1       had filed a trademark application, you realized
2       that that application had contact information for
3       Lucky Bunny, right?
4                    MR. HECHT:       Objection.
5              A.    I would assume it would have contact
6       information if it looks like my application, yes.
7              Q.    Did you ever do anything to pick up the
8       phone and call Lucky Bunny and ask it?
9              A.    I did not.
10             Q.    Excuse me.
11                   Prior to submitting Social Tech's
12      trademark application for the Lucky Bunny --
13      excuse me.
14                   Prior to submitting Social Tech's
15      trademark application for the Memoji design mark,
16      did Social Tech do anything to reach out to Lucky
17      Bunny to find out if it was still using the mark?
18                   MR. HECHT:       Objection.
19             A.    No.
20             Q.    Did Social Tech do anything to contact
21      Lucky Bunny and ask about the number of downloads
22      it had?
23             A.    No.
24             Q.    So you're aware now that -- am I correct
25      that Social Tech is now aware that Lucky Bunny

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1              A.    I did.
2              Q.    Okay.     So you went to the Apple App
3       Store and saw that the app was still available,
4       correct?
5              A.    Correct.
6              Q.    Prior to submitting your trademark
7       application for the Social Tech Memoji design app,
8       did you attempt to download the Lucky Bunny app?
9              A.    I did.
10             Q.    And were you able to download it?
11             A.    I was.
12             Q.    Did you discuss this with Mr. Long?
13                   MR. HECHT:       Objection to form.
14             A.    I don't recall if I told him or not.
15             Q.    Well, prior to submitting Social Tech's
16      MEMOJI design app, did you have any conversations
17      with Mr. Long about Lucky Bunny?
18             A.    I'm sure we discussed it briefly, yes.
19             Q.    What was said?
20             A.    That they had an abandoned application,
21      and in conjunction with a lack of updates and a
22      lack of promotion, all of those things together
23      meant that they weren't using it.
24             Q.    Did you ever discuss with Mr. Long
25      whether it would be a good idea to call Lucky

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1       and no updates and no media presence.
2              Q.     Are you aware that you can have
3       trademark rights even without a trademark
4       registration, sir?
5                     MR. HECHT:       Objection.
6              A.     I'm not an attorney.
7              Q.     Have you heard the term common law
8       rights?
9              A.     I have.
10             Q.     Were you aware of that term before
11      Social Tech filed its trademark application for
12      its MEMOJI design mark?
13             A.     I was not aware, no.
14             Q.     Did you attempt to download the
15      Lucky Bunny app on more than one occasion?
16             A.     I did.
17             Q.     Why?
18             A.     I downloaded it a second time to see if
19      it would open up on my phone, my current phone --
20      not my current phone -- sometime last year.
21             Q.     When was that?
22             A.     I don't recall exactly when.
23             Q.     Was this after Apple's announcement on
24      June 4 of 2018 of its Memoji feature?
25             A.     I believe so, yes.

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1              Q.     So when you downloaded the Memoji app on
2       your phone at the time you filed Social Tech's
3       trademark application for the MEMOJI design app,
4       did you keep the Lucky Bunny app on your phone?
5                     MR. HECHT:      Objection to form.
6              Q.     Excuse me -- yeah.          Just to be clear.
7                     When you downloaded the Lucky Bunny
8       Memoji app on your phone originally, did you keep
9       it on your phone or did you delete it?
10             A.     I believe I deleted it.
11             Q.     So did you download it again?
12             A.     A second time, yes.
13             Q.     And was that after Apple's announcement?
14             A.     I believe so, yes.
15             Q.     And was that before you filed your
16      September 27, 2018, declaration to the Court?
17             A.     I don't recall exactly when it was.
18             Q.     Well, before you filed your lawsuit
19      against Apple, did you do anything to look to see
20      if the Lucky Bunny app was still available?
21             A.     Before we filed the lawsuit, did I look
22      to see if the app was still on the App Store?
23             Q.     Yes.
24             A.     I did look, yes.
25             Q.     And you saw that it was, right?

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1              nonresponsive.
2       BY MS. CENDALI:
3              Q.     When you downloaded the Lucky Bunny app,
4       it didn't crash, did it?
5                     MR. HECHT:      Objection.
6              A.     I don't recall if it crashed or not.
7              Q.     Well, when you downloaded the
8       Lucky Bunny app originally, did you open it?
9              A.     The initial time?
10             Q.     Yes.
11             A.     I did open it, yes.
12             Q.     Yeah.    And when you downloaded it the
13      second time, after Apple's June 4th announcement,
14      did you open it?
15             A.     I believe I did, yes.
16             Q.     Did you ever have any discussions with
17      Lucky Bunny at any time?
18             A.     No.
19             Q.     And to be clear, did anyone on behalf of
20      Social Tech ever have any communications with
21      Lucky Bunny at any time?
22             A.     Not to my knowledge.
23             Q.     Okay.    So at the time you filed Social
24      Tech's application for its MEMOJI design mark, you
25      understood the Lucky Bunny app was available on

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1       as reflected on Bates numbered pages APPLE_147 and
2       148?
3              A.     You're saying I knew this existed when I
4       filed my application?
5              Q.     Yes.
6                     MR. HECHT:      Objection.
7              A.     Yes.
8              Q.     Okay.    And you understood that
9       Lucky Bunny was claiming that it was already using
10      the Memoji mark for its computer application
11      software for mobile phones, right?
12                    MR. HECHT:      Objection.
13             A.     When they filed their application they
14      claimed to have been using it already.
15             Q.     Okay.
16             A.     Yes.
17                    (USPTO File Wrapper for Lucky Bunny's
18             Second Memoji Trademark Application, Bates
19             APL-STECH_00000287 to APL-STECH_00000382,
20             marked as Bonet Exhibit 231, as of this
21             date.)
22      BY MS. CENDALI:
23             Q.     Now, let's take a look at what's been
24      marked as Exhibit 231.
25                    Is Exhibit 231 the USPTO file wrapper

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1       for Lucky Bunny's second Memoji trademark
2       application?
3               A.      This appears to be that application,
4       yes.
5               Q.      And I note that on the first page it
6       says that the application filing date was April 3,
7       2017.        Do you see that?
8               A.      Yes.
9               Q.      When did you become aware of Lucky
10      Bunny's second trademark application?
11              A.      I'm not sure, it may have been previous
12      counsel.
13              Q.      You were aware of Lucky Bunny's second
14      trademark application by the time you filed your
15      September 27, 2018, declaration to the Court in
16      support of Social Tech's preliminary injunction
17      motion, correct?
18                      MR. HECHT:     Objection.
19              A.      I believe I knew about it at that time,
20      yes.
21              Q.      And you understood that Lucky Bunny was
22      continuing to claim that its Memoji mark was
23      already in use and that it had an October 1, 2014,
24      first-use date, correct?
25              A.      I'm sorry?

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1              Q.     Sure.
2              A.     Please repeat.
3              Q.     And when you saw this second Lucky Bunny
4       trademark application, you understood that, as of
5       the date of filing that application on April 3,
6       2017, Lucky Bunny was continuing to claim that its
7       Memoji mark was in use and had an October 1, 2014,
8       first-use date, right?
9              A.     Based upon this, it appears that that --
10      yes.
11             Q.     Right.     And that was what you
12      understood, right?
13             A.     Yes.
14             Q.     And would you agree that Lucky Bunny's
15      filing of its second trademark application on
16      April 3, 2017, indicated that, at least as of that
17      time, it did not intend to abandon any trademark
18      rights it had to the word memojis?
19                    MR. HECHT:      Objection to form.
20             A.     I don't know whether they chose to
21      abandon it or not.
22             Q.     I'm asking you whether you would agree
23      that the fact that Lucky Bunny filed this second
24      trademark application on April 3rd of 2017
25      indicated that they were still attempting to claim

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1       trademark rights as of that date.
2                     MR. HECHT:      Objection.
3              A.     As of that exact date, I would have -- I
4       would assume so.
5              Q.     Yeah.    People don't normally file
6       trademark applications if they're trying to
7       abandon a mark, correct?
8                     MR. HECHT:      Objection.
9              A.     I don't know that.
10             Q.     Well, when you filed your second
11      Hellojis trademark application, were you
12      attempting to abandon your Hellojis trademark
13      rights?
14                    MR. HECHT:      Objection.
15             A.     No, because I did it while the other one
16      was still live.
17             Q.     Yeah.    And would you agree that when
18      someone looked at the PTO records and saw that you
19      had -- that Social Tech had filed a second
20      trademark application for the mark Hellojis, that
21      would indicate to researchers that Social Tech was
22      claiming trademark rights?
23                    MR. HECHT:      Objection.
24             A.     Yes, I would agree with that.
25             Q.     Okay.    Now, so when you -- when you were

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1       than October of 2014 relating to Mr. Anthony's
2       Memoji-Emoji Yourself app, correct?
3              A.     Yeah, when I saw the Facebook page the
4       first time, there was nothing related to that app
5       since October of 2014.
6              Q.     Okay.    So let's talk some more about the
7       development of Social Tech's MEMOJI app.
8                     I believe you said that the initial idea
9       for the Social Tech's MEMOJI app was in 2016; is
10      that right?
11             A.     Yes.
12             Q.     What was done in 2016 to develop the
13      Social Tech MEMOJI app?
14             A.     The physical construction of the app or
15      anything related to it at all?
16             Q.     Well, was any work done on the physical
17      construction of the app in 2016?
18             A.     There was no coding done, no.
19             Q.     Okay.    So what else was done in 2016, if
20      anything, regarding developing the Social Tech
21      MEMOJI app?
22             A.     The creation of promotional material,
23      prototypes, samples, business plan, projections.
24             Q.     Isn't it true that Social Tech
25      unsuccessfully pitched its Memoji app to investors

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1       in mid-2016?
2                     MR. HECHT:      Objection.
3              A.     Yes.
4              Q.     Isn't it true that no investors were
5       interested?
6                     MR. HECHT:      Objection.
7              A.     I don't know if they were interested,
8       but they didn't pull the trigger for some reason.
9              Q.     Well, if -- none of the investors you
10      spoke to decided to invest, correct?
11             A.     Correct.
12             Q.     And did any of them explain why they
13      decided not to invest?
14             A.     I don't recall, no.
15             Q.     Isn't it true that after the investors
16      declined to invest, no further work was done on
17      the proposed Social Tech MEMOJI app until after
18      Apple's announcement?
19                    MR. HECHT:      Objection.
20             A.     We maintained promotional -- a
21      promotional presence on the website.                 And in the
22      late spring of 2018 after Hellojis -- what we
23      thought was in a good place -- Justin and I began
24      discussing Memoji on how to build it.
25             Q.     Do you -- when you said that you thought

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1       augmented reality but, to the best of my
2       knowledge, that's the only one, the only thing.
3              Q.     What code, if any, was written with
4       regard to the Social Tech Memoji prospective app
5       in 2017?      Nothing, right?
6                     MR. HECHT:      Objection to form.
7              A.     2017, there was no code written.
8              Q.     Essentially no work was done on the
9       Social Tech MEMOJI app in 2017, right?
10                    MR. HECHT:      Objection.
11             A.     There was no code written, no.
12             Q.     And no new marketing or promotion or
13      nothing else was done, right?
14                    MR. HECHT:      Objection.
15             A.     I didn't make any new content, no.
16             Q.     And prior to Apple's announcement of its
17      Memoji feature on June 4th of 2018, had any code
18      been written for Social Tech's MEMOJI app?
19             A.     That would have been a question for
20      Justin.     I'm not completely sure.
21             Q.     You don't know of any, right?
22                    MR. HECHT:      Objection.
23             A.     Justin would know that.             I don't -- I
24      don't know what he would have done after we began
25      talking about it.

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1              Q.     Isn't it true that you didn't contract
2       with FlexDev to develop the Social Tech Memoji app
3       until after Apple's June 4, 2018, announcement?
4                     MR. HECHT:      Objection.
5              A.     Well, at the time we had a pretty good
6       business relationship, so we didn't feel the need.
7              Q.     Do you have any documents showing that
8       you -- and I remind you you're under oath -- that
9       you, in fact, spoke to Mr. Grant and had him begin
10      work on Social Tech's MEMOJI app prior to June 4th
11      of 2018?
12                    MR. HECHT:      Objection.
13             A.     I don't have any documents, no.
14             Q.     Okay.    You are the 30(b)(6) witness for
15      Social Tech on the development of Social Tech's
16      MEMOJI app, so I ask you again:                   As the 30(b)(6)
17      witness for Social Tech, had any code been written
18      for the Social Tech MEMOJI app prior to Apple's
19      announcement on June 4th of 2018?
20                    MR. HECHT:      Objection.
21             A.     I would have to ask Justin, I really
22      don't know.
23             Q.     So you're not prepared to testify as the
24      30(b)(6) witness for Social Tech as to whether
25      code had been written prior to that date?

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1                     MR. HECHT:       Objection.
2              A.     I am prepared.
3              Q.     So what is your answer, yes or no?
4                     MR. HECHT:       Objection.
5              Q.     Had code been written -- and I remind
6       you you're under oath -- prior to June 4, 2018,
7       for Social Tech's MEMOJI app?
8              A.     I'm not sure.         If I had to guess,
9       probably not.
10             Q.     Now, on May 21st of 2018, you were
11      contacted from someone inquiring about the Memoji
12      name, right?
13             A.     Yes.
14             Q.     And going back to your declaration in
15      support of the preliminary injunction motion,
16      Exhibit 228, that should be in front of you.
17                    Turning to Paragraph 9, you wrote:                    On
18      May 21, 2018, an unknown person -- but now
19      believed to be acting at the direction of Apple
20      Inc. -- left a message with Social Tech inquiring
21      about Memoji.        Do you see that?
22             A.     Yes.
23             Q.     Did the person give his name?
24             A.     On the voice mail he left a name, but I
25      didn't -- I could not make it out.

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1       inquiry on behalf of Apple?
2              A.     At the time, no.
3              Q.     And when did -- you keep saying "at the
4       time," when did that thought come to you?
5              A.     After I saw Apple's announcement.
6              Q.     Isn't it true that you -- or let me just
7       be clear.
8                     So you didn't receive this call and then
9       call Justin Grant and say, "Hey, we've got to
10      start working on this app.             Apple might be
11      interested in buying it"?
12                    MR. HECHT:      Objection.
13             A.     I don't recall.
14             Q.     Well, you claim, although you don't have
15      any documents, that you spoke to Mr. Grant about
16      developing the Social Tech MEMOJI app.                  Was it
17      after May 21, 2018?
18             A.     I really don't remember the exact date.
19             Q.     So, again, you are the Social Tech
20      30(b)(6) witness on the development of the Social
21      Tech MEMOJI app.         I ask you again:         Isn't it true
22      that your alleged conversation with Mr. Grant
23      about developing the Social Tech MEMOJI app was
24      after you received the call from Mr. Yarborough on
25      May 21, 2018?

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1                     MR. HECHT:      Objection.
2              A.     I'm really not sure when it happened.                  I
3       don't want to say exactly -- I don't want to
4       speculate.
5              Q.     So you're not prepared to testify on
6       that subject, correct?
7                     MR. HECHT:      Objection.
8              A.     That would have been completely from
9       memory.     I really don't know.            I'm not sure.
10             Q.     But you knew as of -- but I'm correct
11      that as of May 21, 2018, no code had been written
12      for Social Tech, correct?
13                    MR. HECHT:      Objection.
14             Q.     For Social Tech's MEMOJI app, correct?
15             A.     Probably not.
16                    (Social Technologies LLC's GitHub
17             Account for Memoji IOS Development, Bates
18             SocialTech_0000887, marked as Bonet Exhibit
19             233, as of this date.)
20                    (Social Technologies LLC's GitHub
21             Account for Memoji Android Development,
22             Bates SocialTech_0000888, marked as Bonet
23             Exhibit 234, as of this date.)
24      BY MS. CENDALI:
25             Q.     I'm handing you two documents that have

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1              Q.     Okay.    Would the actual documents
2       reflected in this GitHub account show when work
3       had been done on the writing code for the Memoji
4       Social Tech account?
5                     MR. HECHT:      Objection.
6              A.     They would reflect the first time they
7       were uploaded to this account.
8              Q.     Okay.
9              A.     To the best of my knowledge.
10             Q.     And isn't it true that the first time,
11      according to Exhibit 233, work was uploaded to
12      GitHub account was June 10, 2018?
13             A.     The first time it was uploaded, yes.
14             Q.     Okay.    And isn't it true -- and you
15      don't know whether any work was done prior to that
16      time; is that right?
17             A.     I mean, logic would state that there was
18      work done before that because it had to be written
19      somewhere, but I couldn't -- the exact dates,
20      that's a question for Justin.
21             Q.     Well, you're the 30(b)(6) witness for
22      Social Tech on the Social Tech's development of
23      the -- the app.        Am I correct that you have no
24      information indicating whether code was written --
25      how long code was written, if at all, prior to

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1               Q.      And isn't it true that later after this
2       lawsuit was started he forwarded it to you again
3       on November 27, 2018?
4                       MR. HECHT:     Objection to form.
5               A.      It appears he did.
6               Q.      Yeah.    And isn't it true that May 22,
7       2018, was the day after you received the call and
8       spoke to Mr. Yarborough?
9               A.      It is.
10              Q.      So was Social Tech aware of Apple's
11      June 4th announcement regarding Apple's new Memoji
12      feature?
13              A.      Was Social Tech aware of -- I was
14      watching the conference, yes.
15              Q.      Okay.    So from the very time you watched
16      the conference, you heard that Apple had announced
17      the new Memoji feature for its phones, correct?
18              A.      Correct.
19              Q.      After you heard this, did you text or
20      email Mr. Grant or Mr. Long about it?
21                      MR. HECHT:     Objection to form.
22              A.      I don't recall if I texted or emailed
23      them.        I did call.
24              Q.      What did you say when you called them?
25              A.      I'm not -- I don't know the exact words

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1              A.     I did know that the process had to be
2       completed, yes.
3              Q.     And that process indicated that you had
4       to file a statement of use in order to obtain the
5       registration for the Memoji design app, correct?
6                     MR. HECHT:       Objection.
7              A.     Yes.
8              Q.     Now, isn't it true that Social Tech
9       contacted FlexDev to ask for its assistance in
10      pursuing a claim against Apple?
11                    MR. HECHT:       Objection to form.
12             A.     I don't believe that's how the
13      conversation went.
14             Q.     Isn't it -- sorry, go ahead.
15             A.     Yeah, I'm not -- I don't remember
16      exactly how the conversation went, but he
17      mentioned knowing an attorney, so that was the
18      introduction to previous counsel.
19             Q.     So Mr. Grant introduced you to Mr. Dee;
20      is that right?
21             A.     Yes.
22             Q.     And so when you first contacted
23      Mr. Grant, you talked to him about suing Apple,
24      right, and he put you in touch with an attorney?
25                    MR. HECHT:       Objection.

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1              A.       I don't remember if we said sue Apple or
2       not.        He put me in touch with an attorney, yes.
3              Q.       And he put you in touch with an attorney
4       because you guys were discussing Apple's Memoji
5       announcement, right?
6              A.       We were discussing protecting our
7       rights.
8              Q.       Yeah.   And isn't it true that you
9       discussed with Mr. Grant that you thought -- that
10      Social Tech pursuing a claim against Apple would
11      make you all a lot of money?
12                      MR. HECHT:     Objection.
13             A.       Potential recovery from something like
14      this would be substantial, I would imagine.
15             Q.       And isn't it true you discussed with
16      Mr. Grant that, if you could pursue a claim
17      against Apple, you could all get rich?
18                      MR. HECHT:     Objection to form.
19             A.       I don't remember the exact wording of
20      the conversation.
21             Q.       But words to that effect were said by
22      you to Mr. Grant; isn't that true?
23                      MR. HECHT:     Objection to form.
24             A.       I'm not a hundred percent sure.
25             Q.       Isn't it -- you're the 30(b)(6) witness

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1       BY MS. CENDALI:
2              Q.     I'm not asking what you do in general.
3       I'm asking you whether it is, in fact, true that
4       you spoke to Mr. Grant and said, "We have the
5       opportunity to pursue a claim against Apple and
6       make a lot of money," yes or no?
7                     MR. HECHT:      Objection.
8              A.     I might have said that.
9                     (Email, Bates FlexDevGrant_0176,
10             marked as Exhibit 237, as of this date.)
11      BY MS. CENDALI:
12             Q.     Let me show you what's been marked as
13      Exhibit 237, a document bearing the Bates number
14      FlexDev_176, an email exchange from you using your
15      info@socialtechnologiesllc.com email address to
16      Justin Grant, subject Memoji Functionality
17      Description, dated June 6, 2018.
18                    Do you recognize this as an email you
19      sent Mr. Grant?
20             A.     Yes.
21             Q.     And this document shows the Goods
22      description in Social Tech's trademark application
23      for its Memoji design mark, correct?
24                    MR. HECHT:      Objection.
25             A.     I believe so, yes.

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1              Q.     And certain of the goods are
2       highlighted -- are highlighted in red, correct?
3              A.     Correct.
4              Q.     Did you do that highlighting?
5              A.     I might have.        I don't remember.
6              Q.     Did you do -- highlight some of the
7       Social Tech description of the goods and services
8       for its Memoji design app because you wanted to
9       instruct Mr. Grant to design the Memoji app to
10      meet these requirements?
11                    MR. HECHT:      Objection.
12             A.     It looks like that.
13             Q.     Now, and this was two days after the
14      Apple announcement of June 4 at the Worldwide
15      Development Conference, correct?
16             A.     It is, yes.
17             Q.     Okay.    So as of June 6, 2018, the day of
18      this email, the Social Tech's planned Memoji app
19      was not capable of recording images, video, and
20      audio, correct?
21                    MR. HECHT:      Objection.
22             A.     As of this date?
23             Q.     Yes.
24             A.     It was not capable of that, no.
25             Q.     And as of that June 6th date, the app

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1                     MR. HECHT:      Objection to form.
2               A.    He did work on the app, yes.
3               Q.    As far as you know, he didn't start work
4       on it before June 4, 2018, correct?
5               A.    I don't know that for a fact, but I know
6       that he did it afterwards for sure.
7               Q.    Well, you're the 30(b)(6) for Social
8       Tech on the Memoji app development.
9               A.    Right.
10              Q.    Do you have any -- isn't it true that
11      you're not aware of Mr. Idrees working --
12      Mr. Ashraf working on the Memoji app before
13      June 4, 2018?
14              A.    I'm not aware of anything, no.
15              Q.    Okay.    What was the financial
16      arrangement with Mr. Ashraf?
17              A.    I did not have one, that would be
18      Justin.
19              Q.    Okay.    Earlier we had looked at a Chase
20      QuickPay payment in Exhibit 85 that was -- you
21      directed to Mr. Grant.           Would Mr. Ashraf had
22      received a portion of that?
23              A.    I don't know.        You'd have to ask Justin
24      that.
25              Q.    Does Mr. Ashraf have a financial

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1       numbered page 755 of the document.
2                     And do you see a June 7, 2018, email
3       from you to Mr. Ashraf and Mr. Grant?
4              A.     Yes.
5              Q.     You write:      Good day, gentlemen.            Well,
6       it appears our collective moment has finally
7       arrived, exclamation point.              As I'm sure you guys
8       have discussed, this is life-changing.                  You
9       gentlemen included.
10                    The life-changing moment that you're
11      referring to was Apple's announcement of its
12      Memoji feature, right?
13                    MR. HECHT:      Objection.
14             A.     Yes.
15             Q.     And you said it was life-changing
16      because Social Tech was preparing to assert a
17      claim against Apple and obtain a lot of money,
18      right?
19                    MR. HECHT:      Objection to form.
20             A.     Potentially, yes.
21             Q.     And it was life changing for Mr. Grant
22      and Mr. Idrees because FlexDev would get a portion
23      of that money, as far as you knew, right?
24                    MR. HECHT:      Objection.
25             A.     Yes.

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1              Q.     And then you continued in this email to
2       state:      Idrees, please let me know if you have any
3       questions or when it's time to add some graphics,
4       et cetera, so I can create another Dropbox folder
5       and send it all over to you.              Did I read that
6       correctly?
7              A.     Yes.
8              Q.     And then you wrote:           Time to get paid,
9       gentlemen.      Correct?
10             A.     Yes.
11             Q.     And this is another reference to getting
12      paid by Apple, right?
13             A.     Yes.
14                    MR. HECHT:      Objection.
15             Q.     Then am I correct that, as the emails
16      goes on, the exchanges on pages 754 and 753
17      reflect communications regarding developing the
18      Social Tech MEMOJI app; is that right?
19             A.     This would have been in reference to
20      that, yes.
21             Q.     Okay.    And then turning, if you would,
22      to page 754, an email.           You sent an email on
23      June 12, 2018, to the group, correct?
24             A.     June 12, yes.
25             Q.     And in that email you state:              The app

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1               A.    Yeah.
2               Q.    Didn't you write in this sentence, "of
3       course this may take a little work to get perfect,
4       but as long as we can get close initially, we can
5       start to test and put in commerce."                Do you see
6       that?
7               A.    Yes.
8               Q.    So weren't you saying that, as long as
9       you could get close to the trademark description,
10      you could launch something and put it in commerce
11      and then fix it later?
12                    MR. HECHT:      Objection.
13              A.    I'm not sure exactly that.             Maybe I
14      meant more close to the image that I saw in my
15      head of what I wanted.
16              Q.    Well --
17              A.    I'm not a hundred percent sure.
18              Q.    Turning back, if you would, to
19      Exhibit 228, your sworn declaration in support of
20      Social Tech's motion for a preliminary injunction.
21                    You can't find Exhibit 228?
22              A.    I'm looking for it.
23              Q.    Withdraw the question.
24                    Let me ask the following:            Isn't it true
25      that it was Social Tech's intent to release a

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1       basic but functional version of its app in order
2       to secure its trademark registration?
3              A.     Yes.
4              Q.     Okay.    Now, turning, if you would...
5                     Social Tech didn't have an Memoji app in
6       commerce prior to Apple's June 4, 2018,
7       announcement, right?
8                     MR. HECHT:      Objection to form.
9              A.     We did not have an app in commerce, no.
10             Q.     And is it fair to say that your goal was
11      to release Social Tech's app to the public in
12      commerce as quickly as possible so Social Tech
13      could get a trademark registration for Memoji?
14                    MR. HECHT:      Objection.
15             A.     We did want -- well, we had to rush our
16      product to finalize our registration to protect
17      our rights, yes.
18             Q.     Social Tech wanted to reserve Social
19      Tech's rights in the Memoji mark, right?
20                    MR. HECHT:      Objection to form.
21             A.     Yes.
22             Q.     And you knew that, unless Social Tech
23      had its trademark registration, it couldn't sue
24      Apple, right?
25                    MR. HECHT:      Objection.

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1              A.     I knew that we couldn't protect
2       ourselves because we didn't have any common law.
3              Q.     So you knew you needed the registration
4       in order to file a claim against Apple, right?
5              A.     That was --
6                     MR. HECHT:       Objection.
7              A.     The previous counsel mentioned that,
8       yes.
9                     MR. HECHT:       Objection.         I'm going to
10             caution the witness do not reveal --
11                    THE WITNESS:        Okay.
12                    MS. CENDALI:        -- the substance of
13             attorney-client-privileged conversation and
14             information.
15             Q.     Now, turning to page 753 of Exhibit 75,
16      the email exchange that went back and forth we
17      were talking about.           Now, we're on a June 13th --
18      excuse me -- did you see a Wednesday, June 13th
19      email at 6:49 p.m. from you to the people in the
20      group?
21                    It's towards the bottom of the page.
22             A.     June 13, 6:49?
23             Q.     Correct.
24             A.     Yes.
25             Q.     And am I correct that you wrote in that

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1       email:      In other news, the initial letter has been
2       sent to Apple.        The process has begun.
3                     When you wrote "the initial letter has
4       been sent to Apple," do you mean the initial cease
5       and desist letter your counsel sent?
6              A.     Yes.
7              Q.     And then you closed your email with,
8       "Peace and wealth, exclamation point," right?
9              A.     Yes.
10             Q.     And that was also a reference to hoping
11      to get money from Apple, right?
12                    MR. HECHT:      Objection.
13             A.     Well, we do speak in manifestation all
14      the time.
15             Q.     Yes.    And your reference to peace and
16      wealth, the wealth was a reference to getting
17      money from Apple, right?
18                    MR. HECHT:      Objection.
19             A.     Sure.
20             Q.     Then turning to page 252 of the
21      document, the first page of Exhibit 75, there's a
22      June 17, 2018, email from you at 5:52 p.m.                   Do you
23      see that?
24                    And in that email you ask what
25      functionality is available at that point for the

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1       app; is that right?
2              A.     Yes.
3              Q.     And then you go on to say, quote, I know
4       that the background removal is difficult, but we
5       need to be able to apply some sort of filter
6       effect, et cetera, to satisfy the, quote, editing
7       requirement -- editing, unquote, requirement of
8       the trademark.         Do you see that?
9              A.     Yes.
10             Q.     And did you write that because you were
11      trying to make sure that the Social Tech app, when
12      released, would satisfy the language of the
13      trademark registration application?
14                    MR. HECHT:      Objection.
15             A.     Yes.
16             Q.     Then turning to -- or further up the
17      page, a June 18, 2018, email from you, it states:
18      This is for Android, of course.                   We are going to
19      push that one to the store first as I'm sure
20      Justin mentioned.         So please don't upload iOS
21      version yet.         Do you see that?
22             A.     Yes.
23             Q.     Why did Social Tech want to push -- when
24      you say "push," you mean release the Social Tech
25      MEMOJI app; is that right?

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1       April 1, 2016, filing?
2               A.    Outside of looking at the USPTO, maybe
3       their website, basic things like that.                  That's
4       about all I can recall.
5               Q.    You filed your initial Memoji -- excuse
6       me.
7                     Social Tech filed its Memoji design mark
8       application on April 1st of 2016; is that correct?
9               A.    We filed April 1st of 2016, yes.
10              Q.    The investigation you did with regard to
11      availability, when was that done in relation to
12      that date?       In other words, did you do it in
13      the -- immediately before filing or some other
14      time?
15              A.    It would have been before filing.                I
16      don't know, I don't remember exactly when.
17              Q.    Is it the best of your recollection it
18      would be sometime relatively close to filing?
19                    MR. HECHT:      Objection to form.
20              A.    I'm not sure.        I don't want to say.             I
21      don't want to speculate.
22              Q.    Then turning back to Exhibit 75 where
23      you wrote:       We are lining up all of our
24      information in preparation for a nice lawsuit
25      against Apple Inc.          We are looking really, all

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1       caps, good.       Get your Lamborghini picked out.                  Do
2       you see that.
3              A.     I do.
4              Q.     And when you wrote "get your Lamborghini
5       picked out," that was because you had high hopes
6       to receive life-changing money from Apple,
7       correct?
8                     MR. HECHT:      Objection to form.
9              A.     We always do speak like that, but yeah.
10             Q.     And isn't it -- so this email thread
11      spans from June 7, 2018, to June 18, 2018, right?
12             A.     Right.
13             Q.     And these emails were private emails
14      between you and your colleagues, correct?
15                    MR. HECHT:      Objection to form.
16             A.     Yeah.
17             Q.     In other words, the public couldn't --
18      didn't have access to these emails, right?
19             A.     Correct.
20             Q.     You weren't trying to posture to the
21      public in these emails, right?               You were just
22      talking to your colleagues, right?
23                    MR. HECHT:      Objection to form.
24             A.     Correct.      Trying to pump them up.
25             Q.     Now, isn't it true that nowhere in this

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1       chain did you complain that Apple's announcement
2       was harming Social Tech's business plans?
3                     MR. HECHT:      Objection to form.
4              A.     I don't think so.
5              Q.     In fact, nowhere in this chain of emails
6       did anyone express unhappiness that Apple had
7       announced a feature called Memoji, right?
8                     MR. HECHT:      Objection.
9              A.     It does not look like it, no.
10             Q.     I mean, to the contrary, the emails
11      reflect your excitement about the possibility to
12      get life-changing money from Apple to buy a bunch
13      of Lamborghinis, correct?
14                    MR. HECHT:      Objection to form.
15             A.     A Lamborghini would have been a nice
16      side effect, that was not the goal, no.
17             Q.     Well, your emails reflected excitement
18      about the possibility of getting a lot of money;
19      is that fair to say?
20                    MR. HECHT:      Objection.
21             A.     Sure.
22             Q.     So when you said "our collective moment
23      finally arrived," you weren't expressing
24      unhappiness, were you?
25                    MR. HECHT:      Objection.

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1              A.    That was not collective unhappiness, no.
2              Q.    And when you said this is life changing,
3       you weren't expressing unhappiness, right?
4                    MR. HECHT:      Objection.
5              A.    It was not unhappy, no.
6              Q.    And when you wished your friends peace
7       and wealth, you weren't expressing unhappiness,
8       right?
9              A.    No.
10             Q.    And when you said, "Get your Lamborghini
11      picked out," you weren't expressing unhappiness,
12      right?
13                   MR. HECHT:      Objection.
14             A.    No.
15             Q.    You were happy that Apple's announcement
16      might lead to Social Tech getting a lot of money
17      if it could obtain its trademark registration,
18      right?
19                   MR. HECHT:      Objection.
20             A.    Potentially, yes.
21                   (Email Exchange, Bates SocialTech_0000777
22             to SocialTech_0000784, marked as Bonet Exhibit
23             238, as of this date.)
24      BY MS. CENDALI:
25             Q.    All right.      Let's take a look at Exhibit

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1              Q.     Sure.    Did you get these bills from
2       FlexDev for its work with regard to the Social
3       Tech MEMOJI app?
4              A.     I did receive them, yes.
5              Q.     Were they paid?
6              A.     No.
7              Q.     Why not?
8              A.     It was my understanding this was him
9       keeping track, more like an accounting basis for
10      him, I believe.
11             Q.     Because the idea was that FlexDev was to
12      be compensated pursuant to the 5 percent
13      contingency deal, right?
14                    MR. HECHT:      Objection to form.
15             A.     That was the idea, yes.
16             Q.     Okay.    Has FlexDev been paid anything to
17      date for its work on the Social Tech MEMOJI app?
18             A.     Yes.
19             Q.     Was that only the monies talked about
20      earlier in connection with payments that had to go
21      to some of their contractors who needed to be paid
22      up front?
23                    MR. HECHT:      Objection to form.
24             A.     To the best of my knowledge, yes.
25             Q.     So am I correct that Social

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1       Technologies' Memoji app was released on June 28,
2       2018?
3               A.    I believe it was released June 28, yes.
4               Q.    And this was approximately only three
5       weeks after FlexDev started working on it, right?
6                     MR. HECHT:      Objection to form.
7               A.    Roughly, yes.
8               Q.    And I take was it your decision to
9       launch the app on June 28, 2018?
10              A.    Yes.
11              Q.    And the app was only launched on Google
12      Play, correct?
13              A.    Correct.
14              Q.    And let me show you what's been marked
15      as Exhibit 79.
16                    Is this an email exchange between and
17      among you, Mr. Ashraf, and Justin Grant ranging
18      from June 26th to June 28th of 2018?
19              A.    This is an email between us, yes.
20              Q.    And in Mr. Idrees' June 28 -- excuse
21      me -- Mr. Ashraf's June 28, 2018, email of
22      3:41 a.m., he asks for certain things including in
23      number 2, app description in line 1; and 3, app
24      description as a detailed paragraph.                 Do you see
25      that?

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1              Q.     But there are documents about the Social
2       Tech app crashing; isn't that true?
3                     MR. HECHT:      Objection.
4              A.     Correct.
5              Q.     Isn't it true that users in addition to
6       yourself complained that the Social Tech app was
7       crashing?
8                     MR. HECHT:      Objection.
9              A.     I would have to see the complaints that
10      you're talking about to refresh my memory.                   I'm
11      not positive offhand.
12             Q.     Isn't it true that, in submitting your
13      declaration in support of Social Tech's motion for
14      preliminary injunction, you included comments from
15      users who complained about the app crashing?
16                    MR. HECHT:      Objection.
17             A.     I'm certain I had seen the document?
18             Q.     You're the 30(b)(6), do you have any
19      knowledge as to whether the Social Tech app was
20      crashing after it was released?
21                    MR. HECHT:      Objection.
22             A.     It did crash after its initial release,
23      yes.
24             Q.     Right.     And isn't it true that it also
25      sometimes would present the images upside down?

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1                     MR. HECHT:      Objection to form.
2              A.     Initially it did, yes.
3              Q.     Was the Social Tech MEMOJI app beta
4       tested before it was released on June 28?
5                     MR. HECHT:      Objection.
6              A.     By the engineers, I believe.
7              Q.     Was it beta tested the way you beta
8       tested the Hellojis app?
9                     MR. HECHT:      Objection to form.
10             A.     I don't believe that there's a
11      TestFlight equivalent on Android, so it would have
12      been a little bit different, I believe.
13             Q.     You're not aware of any TestFlight
14      equivalent beta testing done on the Social Tech
15      app, correct?
16                    MR. HECHT:      Objection.
17             A.     I don't -- I'm sure I may have had an
18      initial version.         I mean, I think so.
19             Q.     You think so what?
20             A.     That I had a version, yes.
21             Q.     Isn't it true that Social Tech released
22      its Memoji app without any beta testing?
23                    MR. HECHT:      Objection.
24             A.     I'm not positive on that, no.
25             Q.     I remind you that you're the 30(b)(6)

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1              Q.     Well, Social Tech filed its statement of
2       use with the PTO for its Memoji design app on
3       June 30th of 2018; is that right?
4              A.     We filed our statement of use, I believe
5       so, yes.
6              Q.     And that was after Social Tech sent a
7       cease and desist letter to Apple on June 13, 2018,
8       correct?
9              A.     What was the date of the cease and
10      desist?
11             Q.     June 13, 2018.
12             A.     I believe that's correct, yes.
13             Q.     And am I correct that the very next day
14      after Social Tech sent Apple its cease and desist
15      letter, Apple responded to Social Tech's cease and
16      desist letter on June 14?
17             A.     I believe so, yes.
18             Q.     And do you recall that in that letter
19      Apple responded by explaining that it had acquired
20      the rights to Lucky Bunny's Memoji mark?
21                    MR. HECHT:      Objection to form.
22             A.     They did respond that way, yes.
23             Q.     And I take it that you reviewed the
24      cease and desist letter your then counsel sent
25      before it was -- wrote before it was sent?

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1                     MR. HECHT:      And I'll just caution the
2              witness not to reveal any
3              attorney-client --
4              Q.     That's just a yes or no.
5                     MR. HECHT:      My standing warning.
6              A.     Did I review it?
7              Q.     Yes.
8              A.     Yes.
9              Q.     And I take it you reviewed Apple's
10      response to that letter shortly after it was sent
11      as well, correct?
12             A.     Correct.
13             Q.     And two weeks later on June 30th, Social
14      Tech filed its statement of use, correct?
15             A.     We did file our statement of use
16      June 30th, yes.
17                    I'll point out there was another
18      correspondence in between that.
19                    MS. CENDALI:       I need to find a
20             document.      Can we go off the record?
21                    MR. HECHT:      Sure.
22                    THE VIDEOGRAPHER:          The time on the --
23             the time on the video monitor is 3:58 p.m.
24             We're off the record.
25                    (Whereupon, off the record.)

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1                     (Whereupon, resumed.)
2                     THE VIDEOGRAPHER:          We are back on the
3              record.       The time on the video monitor is
4              4:12 p.m.
5       BY MS. CENDALI:
6              Q.     Mr. Bonet, please turn back to
7       exhibit -- what has been previously marked and
8       shown to you in your deposition as Exhibit 227,
9       which is the collection of documents reflecting
10      the file regarding Social Tech's trademark
11      application history for its Memoji design mark.
12      And turn, if you would, to page, Bates numbered
13      page 228 of that document.
14             A.     (Complies.)
15             Q.     That is the statement of use that Social
16      Tech filed on June 30 of 2018, correct?
17             A.     Yes.
18             Q.     And you filed that on behalf of Social
19      Tech, correct?
20             A.     Yes.
21             Q.     And it reflects a first-use date of
22      June 28th of 2018, the date of the launch; is that
23      correct?
24             A.     Yes.
25             Q.     And you signed the application along

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1       with Mr. Long on behalf of Social Tech; is that
2       right?
3              A.     Yes.
4              Q.     And then turning, if you would, to the
5       Bates numbered page 231, there's the declaration
6       that you had to commit to in submitting the
7       application -- the certificate of use, correct?
8                     At the top of page 231 is a declaration
9       that states:         To the best of the signatory's
10      knowledge and belief, no other persons, except, if
11      applicable, authorized users, members and/or
12      concurrent users, have the right to use the mark
13      in commerce, either in the identical form or in
14      such near resemblance to be likely, when used on
15      or in connection with the
16      goods/services/collective membership organization
17      of such other purposes or such other persons, to
18      cause confusion or mistake or to deceive.                   Do you
19      see that?
20             A.     I do.
21             Q.     And when you signed -- and when you
22      submitted Social Tech's statement of use on
23      June 30, 2018, you had heard that that was true,
24      correct?
25                    MR. HECHT:      Objection.

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1              A.     Correct.
2              Q.     And you submitted a declaration to the
3       effect that no one else had the right to use the
4       mark in commerce even though you were aware that
5       the Lucky Bunny app was still available, correct?
6                     MR. HECHT:      Objection.
7              A.     Yes.
8              Q.     And, in fact, just a few weeks before,
9       you had re-downloaded the Lucky Bunny app and
10      opened it, right?
11                    MR. HECHT:      Objection.
12             A.     Yes.
13             Q.     And you knew that Lucky Bunny had filed
14      two separate trademark applications for its mobile
15      app, both of which were use based, correct?
16                    MR. HECHT:      Objection.
17             A.     Yes.
18             Q.     And you knew that Lucky Bunny came up
19      when you did Google searches in 2016, correct?
20             A.     Correct.
21             Q.     And you knew by then that Lucky Bunny
22      had been promoted by celebrity Howie Mandel,
23      correct?
24             A.     I don't recall saying that at that time,
25      no.

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1              Q.     As of the time that you filed your
2       statement of use on June 30th of 2018, you knew --
3              A.     At that time.
4              Q.     -- you knew that Lucky Bunny had been
5       promoted by celebrity Howie Mandel, correct?
6              A.     Yes.
7              Q.     But you still swore under the oath to
8       the PTO that no other users had the right to use
9       the Memoji mark, correct?
10                    MR. HECHT:      Objection.
11             A.     Correct.
12             Q.     The page 231 goes on to say:              To the
13      best of the signatory's knowledge, information and
14      belief, formed after inquiry reasonable under the
15      circumstances, the allegations and other factual
16      contentions made above have evidentiary support.
17                    You understood that you were swearing to
18      that, right?
19                    MR. HECHT:      Objection to form.
20             A.     Yes.
21             Q.     And what additional investigation did
22      you do regarding Lucky Bunny after your initial
23      investigation that preceded Social Tech's April 1,
24      2018, trademark application and Social Tech's
25      June 30th, 2018, filing of its statement of use?

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1              A.     It could send audio, yes.
2              Q.     Did Social Tech's MEMOJI app work on
3       computers when it was launched?
4              A.     Did it work on computers?
5                     MR. HECHT:      Objection to form.
6              A.     It wasn't built for computers, it was
7       built as a mobile application.
8              Q.     Well, following the launch of Social
9       Tech's MEMOJI app, FlexDev, at Social Tech's
10      request, updated the app, correct?
11             A.     Correct.
12             Q.     And isn't it true that Social Tech
13      wanted to have many updates in order to make it
14      appear in this litigation that it was actively
15      updating the app?
16                    MR. HECHT:      Objection to form.
17             A.     I believe an app should be updated
18      regardless.
19             Q.     But isn't it true that Social Tech
20      specifically wanted to split work that could have
21      been done in a single update into multiple updates
22      in order to show that it had more updates?
23                    MR. HECHT:      Objection.
24             A.     I'm not sure.        Do you have a document
25      that speaks to that?

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1       and Mr. Grant that their work was to assist Social
2       Tech with regard to getting paid by Apple, right?
3                     MR. HECHT:      Objection to form.
4              A.     Can you rephrase the question, please.
5              Q.     Sure.    You had discussions and emails
6       with Mr. Ashraf and Mr. Grant about how FlexDev
7       was assisting Social Tech in pursuing a claim for
8       a lot of money against Apple, right?
9                     MR. HECHT:      Objection to form.
10             A.     I'm not a hundred percent sure what
11      you're trying to say.           Please clarify.
12             Q.     You were emailing these guys about,
13      "Hey, guys, gentlemen, it's time to get paid and
14      we can all get Lamborghinis," right?
15                    MR. HECHT:      Objection to form.
16             A.     I did say that.
17             Q.     Yeah.    And then later in this email of
18      July 14, 2018, it says:            How are we looking on
19      everything?       What else do you need from me for --
20      and you list home screen, app, cutouts,
21      translations, big fishes, fixes, crash fixes (app
22      is crashing a lot it seems).              Do you see that?
23             A.     I do.
24             Q.     Yeah.    And so on July 14th that was
25      after the Social Tech app had been released,

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1       correct?
2              A.     Yes.
3              Q.     And you yourself wrote that the Social
4       Tech app was crashing a lot and you were being
5       truthful, correct?
6                     MR. HECHT:      Objection.
7              A.     Correct, because I was testing it on an
8       old phone.
9              Q.     Well, you didn't specify in this email
10      that it was you were testing it on an old phone,
11      you didn't limit it to that phone in this email,
12      right?
13                    MR. HECHT:      Objection.
14             A.     Not in this email, but a previous one we
15      went over, I believe.
16             Q.     Right.     But we also discussed the people
17      who use different phone were complaining that the
18      app was crashing; isn't that true?
19                    MR. HECHT:      Objection to form.
20             A.     I believe I asked for clarity on that.
21      I don't remember that.
22             Q.     Let's keep going.          I think the testimony
23      is clear.
24                    You go on to say, "Of course --" and you
25      were -- "it seems best to split these up to

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1               Q.     And when was that done?
2               A.     After we took assignment.             I'm not sure
3       of the exact date.          It would have been May
4       sometime, I believe.
5               Q.     Okay.    So you're familiar with
6       Christopher Anthony, right?
7               A.     Yes.
8               Q.     And you learned that -- you learned --
9       after Apple's June 4, 2018, announcement of its
10      Memoji feature that Mr. Anthony had an
11      MEmoji-Emoji Yourself app; is that right?
12              A.     I'm sorry.      It was -- say that again,
13      please.
14              Q.     Sure.    You learned after June 4th of
15      2018 that Mr. Anthony had a MEmoji-Emoji Yourself
16      app at some point, correct?
17              A.     I was made aware of his Facebook page
18      and that an app existed and that it was not
19      active.
20              Q.     Okay.
21              A.     Anywhere.
22              Q.     And when you say it wasn't active
23      anywhere, what information did you have about
24      that?
25              A.     It was not on the App Store.

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1              Q.     And did you do anything to investigate
2       Mr. Anthony's app?
3                     MR. HECHT:       Objection to form.
4              A.     I looked at his Facebook page and I
5       searched the App Store for his app as well.
6              Q.     And what did you learn?
7              A.     It was not there.
8              Q.     And when did you do the searching?
9              A.     I don't recall exactly when.
10             Q.     It was after June 4th of 2018, though,
11      correct?
12             A.     It would have been after June 4th, yes.
13             Q.     So let's go back and take a look at
14      Exhibit 232, which should have been made more
15      accessible for you, which is your Declaration in
16      Support of Plaintiff's Opposition to Christopher
17      Anthony's Motion to Intervene.
18             A.     232.
19             Q.     Did you find it?
20             A.     232, yes.
21             Q.     And we talked about this document
22      earlier that day, correct?
23             A.     Yes.
24             Q.     In Paragraph 2 you wrote:              A review of
25      that Facebook page showed no activity related to

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1       Mr. Anthony's app had very few downloads?
2               A.    He would have mentioned that, yes.
3               Q.    And you understood that to be true?
4                     MR. HECHT:      Objection to form.
5               A.    Yes.
6               Q.    Did you have any discussions with
7       Mr. Anthony yourself about the number of downloads
8       his app had had?
9               A.    I believe we touched on it on a phone
10      call.
11              Q.    When was that?
12              A.    Early December, I believe.
13              Q.    And what did he tell you?
14              A.    I don't recall exactly.
15              Q.    Did he tell you that he had very few
16      downloads?
17              A.    I'm sure he probably mentioned he did
18      not have a lot.
19              Q.    Did he mention to you that his app had
20      been down for a number of years?
21              A.    Yes.
22              Q.    And what did he -- what's the best you
23      can recall that he said on that subject?
24                    MR. HECHT:      Objection to form.
25              A.    That he -- his app was down.              I believe

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1       it was because he -- something about not paying
2       the developer fee, something to that effect.
3               Q.    And did he have anything else to say to
4       you with regard to why and for how long his app
5       was down?
6               A.    I don't recall exactly.
7               Q.    And when did this conversation about his
8       app being down take place?             Was that in December
9       of 2018 or some other time?
10              A.    That would have been the December of
11      2018.
12              Q.    Since that time, do you have any
13      additional information about Mr. Anthony's app
14      being down?
15              A.    The information that was presented in
16      his motion to intervene would have been the only
17      new information.
18              Q.    Okay.    Well, going back to Exhibit 232,
19      your declaration in opposition to his motion to
20      intervene that we've been talking about, Paragraph
21      3, it says:       Based on the additional information
22      Grant and Anthony provided to me regarding the
23      small number of Anthony app downloads.
24                    And, again, have you told me everything
25      that Grant and Anthony provided to you regarding

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1       the small number of Anthony app downloads or do
2       you have more information other than what you have
3       already provided?
4              A.     This is sales.        I believe we produced a
5       document that had downloads on it as well.
6              Q.     Okay.
7              A.     That would have been additional
8       information.
9              Q.     But you got information about the number
10      of Anthony downloads prior to when you submitted
11      this declaration on March 25, 2019, in opposition
12      of his motion to intervene, correct?
13                    MR. HECHT:      Objection to form.
14             A.     That's a little vague.              I'm not quite
15      following you.
16             Q.     Sure.    Let's simplify.            You signed this
17      declaration under oath on March 25 of 2019,
18      correct?
19             A.     Yes.
20             Q.     And this was in opposition to
21      Mr. Anthony's motion to intervene in this case,
22      correct?
23             A.     Correct.
24             Q.     And in Paragraph 3 of that declaration,
25      you wrote:      Based on the additional information

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1       Grant and Anthony provided to me regarding the
2       small number of Anthony app downloads.
3                       Can you tell me as best you can is what
4       you were referring to when you wrote that, what
5       your basis was?
6                       MR. HECHT:     Objection to form.
7               A.      To the best of my knowledge, that would
8       have been from the first time that Justin spoke
9       with Anthony up until I ceased communications.
10      All that information did not come at the same
11      time.
12              Q.      Okay.   And the information that you had,
13      was it that Mr. Anthony's app had less than a
14      thousand downloads; is that right?
15              A.      Do you have a document that speaks to
16      that?        I don't recall the number.
17              Q.      You're the 30(b)(6) witness.            I'm asking
18      you whether you prepared to testify about the
19      Anthony app.
20              A.      Yes.
21              Q.      Okay.   Do you recall how many downloads
22      it ever had?
23              A.      Not exactly, no.
24              Q.      Can you approximate?
25                      MR. HECHT:     Objection to form.

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1               A.    I'd be speculating.           I'm not sure.
2               Q.    What's your best recollection of how
3       many downloads the Anthony app had?
4                     MR. HECHT:      Objection.           Outside the
5               scope.
6               A.    I would have to speculate.               I'm not
7       sure.
8               Q.    You said -- you also wrote "and the lack
9       of updates to the Anthony app."                   What did you mean
10      by that?
11              A.    That his app was not updated.
12              Q.    And did you consider that a factor in
13      deciding that Mr. Anthony held no rights of value
14      to Social Tech?
15                    MR. HECHT:      Objection to form.
16              Outside the scope.
17              A.    All of these things combined led me to
18      that conclusion at that time.
19              Q.    And did you understand that, that when
20      you executed this declaration on March 25, 2019,
21      that Mr. Anthony had not updated his app?
22                    MR. HECHT:      Objection to form.
23              Outside the scope.
24              A.    Was I aware that he had not updated his
25      app?

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1              Q.     Yes.     You wrote:       Based on the
2       additional information Grant and Anthony provided
3       to me regarding the small number of Anthony apps
4       and the lack of updates to the Anthony app.                      When
5       you wrote and signed under oath "the lack of
6       updates to the Anthony app," what were you
7       meaning?
8              A.     That he didn't update his app.
9              Q.     And in your mind that was a factor in
10      deciding that you -- that he did not hold rights
11      of value to Social Tech, correct?
12                    MR. HECHT:       Objection to form.
13             Outside the scope.
14             A.     At that time, yes.
15             Q.     Yeah.     And then you went on to say:                I
16      decided that Anthony held no rights of value to
17      Social Tech and did not make efforts to purchase
18      anything from Anthony.            Do you see that?
19             A.     Yes.
20             Q.     Since you signed this declaration on
21      March 25, 2019, did you receive any additional
22      information with regard to Mr. Anthony and his
23      app?
24             A.     I don't believe so.
25             Q.     Were you being truthful when you wrote

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1       is only legally relevant if the mark was used
2       continuously?
3                     MR. HECHT:      Objection to form.
4               A.    I'm not a trademark attorney to answer
5       that.
6               Q.    Have you ever -- have you heard of that?
7               A.    Have I heard of?
8               Q.    Have you ever heard of the idea that in
9       order to have trademark rights you need to use the
10      mark continuously?
11                    MR. HECHT:      Objection to form.
12              A.    I believe I have heard that, yes.
13              Q.    And isn't it true that Mr. Anthony's app
14      was down for more than three years?
15                    MR. HECHT:      Objection to form.
16              A.    I know that it was down for a while, I
17      don't know exactly how long.
18              Q.    Isn't it true that Mr. Anthony's app was
19      only put back up in the fall of 2019 after Social
20      Tech contacted him about claims against Apple?
21                    MR. HECHT:      Objection.
22              A.    I believe his app went back up after
23      Justin spoke to him, initially.
24              Q.    Right.     So isn't it true that
25      Mr. Anthony's app only went back up after Justin

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1       signed your May 25, 2019, declaration in
2       opposition to his motion to intervene?
3               A.    No.
4               Q.    All right.      Let's go back and look at
5       what's been previously marked as Exhibit 228, your
6       declaration in support of Social Tech's motion for
7       preliminary injunction.
8                     228.
9                     All right.      Turning to Paragraph 14 of
10      your declaration, you stated:               Indeed, a number of
11      customers and potential customers have already
12      expressed confusion and negative comments on our
13      Memoji Facebook page and on our Apple Play site.
14      Do you see that?
15              A.    Yes.
16              Q.    Okay.    Did you, in your declaration --
17      am I correct that all instances of what Social
18      Tech claims constitutes actual confusion are
19      reflected in your declaration of September 27,
20      2018?
21                    MR. HECHT:      Objection to form.          Also
22              outside the scope.         Calls for expert
23              testimony.
24              A.    I believe this is all of them, yes.
25              Q.    So you're not aware -- Social Tech is

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1       not aware of any additional instances of what it
2       claims is actual confusion since you submitted
3       this declaration to the Court on September 27,
4       2018, correct?
5                     MR. HECHT:      The same objections.
6               A.    To the best of my knowledge, this is all
7       there is.
8               Q.    Fair enough.       And then turning -- if
9       looking at your declaration, we're at Paragraph 15
10      where you're quoting a, a user as saying:                   What
11      kind of app is this?          This app looks nothing like
12      the app on the iPhone.
13                    There's nothing about the statements
14      made by that person that indicates that the person
15      thought that Social Tech's app came from Apple or
16      was affiliated with Apple, correct?
17                    MR. HECHT:      Objection to form.
18              A.    It appears that they expected to.
19              Q.    Are you done with your answer?
20              A.    Yes.
21              Q.    Do you know Kione Marissa Key who posted
22      this?
23              A.    No.
24              Q.    Then in Paragraph 17 of your declaration
25      there were -- you wrote there were two messages on

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1              A.     Yes.
2              Q.     So now isn't it true that the Social
3       Tech MEMOJI app was taken down by Google for a
4       period of time?
5              A.     Yes.
6              Q.     And did you have communications with
7       Google about this?
8              A.     A few emails, yes.
9                     ("Your Appeal for Restatement" Email,
10             Bates GOOG-MEMO_00000007 to
11             GOOG-MEMO_00000008, marked as Bonet Exhibit
12             248, as of this date.)
13                    ("Your Appeal for Restatement" Email,
14             Bates SocialTech_0000820 to
15             SocialTech_0000825, marked as Bonet Exhibit
16             248, as of this date.)
17      BY MS. CENDALI:
18             Q.     Well, let's take a look at what's been
19      marked as Exhibits 247 and 248.
20                    Are these emails -- 247 has the Bates
21      number GOOGLE_7, which means it was produced by
22      Google.     And 248 starts with the Bates number
23      SocialTech_820.
24                    Are these collections of email exchanges
25      with Google about Google's taking down the Social

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1              Social Tech and Google.
2       BY MS. CENDALI:
3              Q.     Sitting here today, what is your best
4       understanding as to why Google took down Social
5       Tech's MEMOJI app?
6              A.     I have no idea.          That's what I was
7       trying to find out with this.
8              Q.     You are the 30(b)(6) witness on this
9       topic, you have no idea whatsoever as to why it
10      was taken down?
11             A.     They mention violations of a developer
12      program policy, which is kind of vague.                    I don't
13      know what those were.            I asked for clarification
14      and I received none.
15             Q.     Isn't it -- how was it that Social Tech
16      got its app back up again?
17             A.     I had to open another developer account
18      and re-upload the app.
19             Q.     Did you open a new developer account
20      under the name Samuel Ernesto?
21             A.     Yes.
22             Q.     Is Ernesto your middle name?
23             A.     Yes.
24             Q.     Do you see on Exhibit 248, page 821, in
25      the email that we were talking about where Google

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1       Play wrote:       Your Google Play developer account
2       has been terminated due to multiple violations of
3       the developer program policies.
4                     Do you see in the second paragraph of
5       that email they wrote:           Do not attempt to register
6       a new developer account.            Any new accounts will be
7       closed and your developer registration fee will
8       not be refunded.         We recommend that you use an
9       alternative method for distributing your apps in
10      the future.
11                    You read that at the time you got this,
12      right?
13             A.     Yes.
14             Q.     But despite Google specifically telling
15      you not to register a new development account,
16      that's exactly what you did, right?
17                    MR. HECHT:      Objection to form.
18             A.     Yes.
19             Q.     And so is it fair to say that Social
20      Tech will not follow the rules when it suits its
21      interest?
22                    MR. HECHT:      Objection to form.
23             A.     Absolutely not.         I asked for
24      clarification and more information.                I did not
25      receive any.         I made a judgment call because I

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1       know I had more than 5,000 at one point, but I
2       cannot access the account any longer, so I
3       couldn't see.
4              Q.     Did you encourage your friends and
5       family to download the app?
6                     MR. HECHT:      Objection.
7              A.     To some degree, I told people that I
8       knew to download it, sure.
9              Q.     What percentage of Social Tech's
10      downloads were for people in the United States?
11                    MR. HECHT:      Objection.
12             A.     I don't know.
13             Q.     Let's go back to your declaration that
14      you submitted in support of your motion for a
15      preliminary injunction.            It should be sitting in
16      front of you, Exhibit 228.             And if you would
17      please turn to Paragraph 8.
18                    In Paragraph 8 you wrote:              I created a
19      thorough presentation and began seeking investors
20      for Memoji in April 2016.
21                    And then you wrote:           And began promoting
22      Memoji on the Social Tech website as of January 4,
23      2017, and with two promotional videos posted to
24      YouTube also on January 4, 2017.                  Do you see that?
25             A.     Yes.

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1               Q.      Were you one of the people who viewed
2       the videos?
3               A.      Probably.
4               Q.      Were any of your friends and family?
5                       MR. HECHT:      Objection.
6               A.      I'm sure a few, yes.
7               Q.      Okay.    So let's then take a look at
8       Paragraph 13 of your declaration, where it says:
9       I've also been active in promoting our Memoji app
10      by purchasing Facebook advertisements and posting
11      on Facebook, et cetera.              Do you see that in the
12      first paragraph?
13              A.      Yes.
14              Q.      The first sentence of Paragraph 13.
15                      Other than -- is all the -- let me ask
16      this:        Are the activities mentioned in Paragraph
17      13 of your declaration of September 27, 2018, in
18      support of Social Tech's motion for a preliminary
19      injunction all things that Social Tech did after
20      Apple's announcement of June 4th of 2018?
21              A.      Yes.
22              Q.      When you wrote, "We also engaged a
23      company to enhance search engine optimization
24      (SEO)," that was FlexDev, right?
25              A.      Yes.

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1              Q.     And going back to Paragraph 11 of your
2       declaration, you wrote:            Before Apple announced
3       its Memoji feature, a search for Memoji would have
4       turned up our Memoji at or near the top of search
5       results.      Do you see that?
6              A.     Yes.
7              Q.     But isn't it true that when you
8       yourself, as you previously testified, searched
9       for Memoji, you found Lucky Bunny, correct?
10                    MR. HECHT:      Objection.
11             A.     That would have been before I posted
12      those videos, so that would not -- they would not
13      have come up.
14             Q.     Well, do you have any documents
15      reflecting any searches that had been done to
16      corroborate your statement that before Apple
17      announced its Memoji feature, a search for Memoji
18      would have turned up Social Tech's Memoji at or
19      near the top of search results?
20             A.     No.
21             Q.     As far as you know, was Social Tech's
22      MEMOJI app ever promoted by any celebrities?
23             A.     No.
24             Q.     As far as you know was Social Tech's
25      MEMOJI app ever mentioned on any talk shows?

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1              A.     No.
2              Q.     As far as you know, was Social Tech's
3       MEMOJI app ever mentioned in any national
4       publications?
5              A.     No.
6              Q.     Was it ever mentioned in any
7       publications?
8                     MR. HECHT:      Objection.
9              A.     Yes.
10             Q.     Other than in regard to this lawsuit.
11             A.     No.
12             Q.     How much money has Social spent prior to
13      Apple's announcement of January -- of June 4,
14      2018, in marketing or promoting its Memoji app?
15             A.     I don't know the exact number offhand.
16      I believe I've produced documents with that
17      information.
18             Q.     Was it less than $5,000?
19                    MR. HECHT:      Objection.
20             A.     I'm not exactly sure.               I don't want to
21      speculate.
22             Q.     Okay.    I remind you you're the 30(b)(6)
23      and you should have been prepared to at least
24      approximate on this topic.
25                    How much money has Social spent to date

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1       business called XPNSV?           X-P-N-S-V.
2              A.     That would be underneath Social Tech,
3       yes.
4              Q.     And XPNSV has nothing to do with Social
5       Tech's MEMOJI app, correct?
6              A.     Correct.
7              Q.     Isn't it true that the reason there are
8       no documents reflecting any development by Social
9       Tech of the Memoji app in 2017 and 2018 prior to
10      Apple's announcement is because Social Tech wasn't
11      working on it?
12                    MR. HECHT:      Objection.
13             A.     We were building Hellojis and had
14      several other things going on at the same time to
15      generate money, yes.
16             Q.     Isn't it true that Social Tech had
17      switched its focus to its adult film business?
18             A.     We don't have an adult film business.
19                    (YouTube Video Screenshot titled
20             Charlie Grace in "Battery Operated
21             Boyfriend" marked as Bonet Exhibit 267, as
22             of this date.)
23      BY MS. CENDALI:
24             Q.     Let's show you what's been marked as
25      Exhibit 267.

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5       any of the companies that you've been associated
6       with?
7               A.    Not to my knowledge, no.
8               Q.    Other than this lawsuit against Apple,
9       have you or any of the companies you've been
10      involved with sued anyone?
11              A.    No.
12              Q.    Just to be clear, did Social Tech use
13      the Memoji mark to sell anything prior to June 28,
14      2018?
15                    MR. HECHT:      Objection.
16              A.    Use the mark to sell anything?
17              Q.    Correct.
18              A.    No.
19              Q.    Social Technologies did not sell any
20      goods under the Memoji mark prior to the launch of
21      its app on June 28, 2018; is that correct?
22                    MR. HECHT:      Objection.
23              A.    Did we sell any goods under Memoji, no.
24              Q.    Social Technologies did not sell any
25      services under the Memoji mark prior to the launch

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1       of its app on June 28, 2018, correct?
2                     MR. HECHT:      Objection.
3              A.     No.
4                     MS. CENDALI:       Thank you.          Let's take a
5              break.       We probably only have a few minutes
6              left, but let's see where we are.
7                     THE VIDEOGRAPHER:          The time on the
8              video monitor is 6:43 p.m.                 We're off the
9              record.
10                    (Whereupon, off the record.)
11                    (Whereupon, resumed.)
12                    THE VIDEOGRAPHER:          We are back on the
13             record.       The time on the video monitor is
14             7:00 p.m.
15      BY MS. CENDALI:
16             Q.     Mr. Bonet, we discussed a conversation
17      that you had with Chris Anthony on December 13,
18      2018, regarding buying his rights.                   Remember he
19      had that in his declaration?
20             A.     Yes.
21             Q.     Okay.     How many times have you spoken to
22      Mr. Anthony?
23             A.     Total?
24             Q.     Yeah.
25             A.     A handful.

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1       BY MS. CENDALI:
2               Q.    Let me show you what's been marked as
3       Exhibit 258.         Can you identify Exhibit 258?
4               A.    This is another YouTube account that we
5       have.
6               Q.    And is this the account where you posted
7       the two Memoji videos you discussed in your
8       declaration in support of the motion for a
9       preliminary injunction?
10              A.    There is where they were housed, yes.
11              Q.    All right.      And was one of the
12      commercials -- or excuse me, is one of the videos
13      that you referenced in your declaration the Memoji
14      shopping commercial?
15              A.    Yes.
16              Q.    And did it have 457 views as of July 1,
17      2019?
18              A.    According to this, yes.
19              Q.    And you have no reason to think that's
20      not right, correct?
21              A.    No.
22              Q.    And then it also listed the Memoji park
23      commercial, that's the other commercial or video
24      referenced in your declaration, correct?
25              A.    Correct.

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1              Q.     And that indicated that it had 70 views
2       as of July 1, 2019, correct?
3              A.     Correct.
4              Q.     Let me show you what's been marked --
5       and who are the two women depicted in those image
6       commercials?
7              A.     One --
8                     MR. HECHT:      Objection.
9                     THE WITNESS:       Sorry.
10             A.     One was Nicole Martin, who was my
11      girlfriend at the time, which we've referenced.
12      And the other one was Charlie Grace, the singer
13      from the video.
14                    (YouTube Screenshot titled MeMOJI "Park"
15             Commercial marked as Bonet Exhibit 254, as of
16             this date.)
17                    (YouTube Screenshot titled MeMOJI
18             "Shopping" Commercial marked as Bonet Exhibit
19             255, as of this date.)
20      BY MS. CENDALI:
21             Q.     Can you identify Exhibit 2 -- can you
22      tell me the name of what I just gave you, what
23      exhibit number is on it?
24             A.     254.
25             Q.     What is Exhibit 254?

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